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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF DELAWARE


   MOXCHANGE LLC,

                 Plaintiff,                            C.A. No. 1:20-cv-01126-LPS

          v.
                                                       JURY TRIAL DEMANDED
   PROXIM WIRELESS CORPORATION,

                 Defendant.



         PROXIM’S OPENING BRIEF IN SUPPORT OF RULE 12(c) MOTION FOR
             JUDGMENT OF NON-INFRINGEMENT ON THE PLEADINGS


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        Proxim respectfully requests the Court’s Rule 12(c) order and entry of judgment on the

 pleadings that Proxim has not directly infringed and does not directly infringe independent method

 claim 1 of U.S. Patent No. 7,233,664 (“the ‘664 Patent” or the “Patent”) because Moxchange has

 not adequately pleaded that Proxim directly infringes that Patent claim


         STATEMENT OF THE NATURE AND STAGE OF THE PROCEEDINGS

        Moxchange initiated this patent case by filing its Original Complaint on August 26, 2020.

 See D.I. 1. 1 In its Original Complaint, Moxchange alleged that Proxim directly infringed claims

 of three patents, including independent method claim 1 of U.S. Patent No. 7,233,664 (“the ‘664

 Patent” or the “Patent”). See D.I. 1 at 11. A copy of the ‘664 Patent is filed with this Motion as

 Exhibit A. Proxim filed its Answer and Affirmative Defenses to Moxchange’s Original Complaint

 on November 23, 2020, denying infringement of the Patent and alleging that the Patent’s claims

 are invalid. See D.I. 9.

        Moxchange filed an Amended Complaint for Patent Infringement on October 5, 2021. See

 D.I. 15. In its Amended Complaint, Moxchange alleges that Proxim directly infringes independent

 method claim 1 of the ‘664 Patent. See D.I. 15 at ¶ 20. Moxchange alleges in its Amended

 Complaint that Proxim infringes and has directly infringed independent method claim 1 of the

 Patent by using and/or testing Proxim’s “ORiNOCO AP-9100R” product (defined by Moxchange

 as the “Accused Instrumentality”) and/or by using or performing the method recited in claim 1.

 See id. Moxchange also alleges that the Accused Instrumentality practices the method and

 performs the steps recited in claim 1 of the Patent. See D.I. 15 at ¶¶ 21-26.




 1
   Moxchange has filed numerous patent suits in this Court related to the same ‘664 Patent at issue
 in this case. See, e.g., D.I. 1-9 (listing five related cases). Moxchange also has filed suit against
 ADT for alleged infringement of the ‘664 Patent in C.A. No. 1:21-cv-00080-LPS.


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        Proxim seeks monetary damages in an amount not less than a reasonable royalty resulting

 from Proxim’s “infringing conduct” and, specifically, Proxim’s purported “use of the patented

 technology.” See id. at ¶ 27 (emphasis added).

        Proxim filed an Answer, Affirmative Defenses, and Counterclaims in response to

 Moxchange’s Amended Complaint, seeking the Court’s declarations that: (1) Proxim has not

 infringed any asserted claim of the ‘664 Patent; and (2) the asserted claims of the Patent are invalid

 in light of the prior art, including Proxim’s own prior art products and publications. See D.I. 24 at

 6-10. Proxim also asserted in its Fourth Affirmative Defense that “Plaintiff’s Complaint and the

 allegations made therein fail to state a claim against Proxim for infringement of claim 1 of the ‘664

 Patent upon which relief can be granted.” Id. at 6. Moxchange filed its response to Proxim’s

 Counterclaims on November 23, 2021. See D.I. 26. The Court entered its Scheduling Order on

 October 26, 2021, see D.I. 21, and referred the case to Chief Magistrate Judge Thynge for purposes

 of exploring Alternative Dispute Resolution.

        No written discovery requests have been served by either party, and no depositions have

 been noticed, scheduled, or taken. The fact discovery deadline is March 31, 2023, and trial

 currently is scheduled for March 11, 2024. See D.I. at 4, 17. The pleadings in this case are closed,

 and the deadline for motions to amend or supplement the parties’ pleadings has passed. See D.I.

 21 at 2. Moxchange’s Amended Complaint (D.I. 15) is the subject of this Rule 12(c) Motion for

 Judgment of Non-Infringement on the Pleadings.


                               SUMMARY OF THE ARGUMENT

    1. Moxchange’s pleading (if any) that Proxim has directly infringed method claim 1 of the
       ‘664 Patent by selling the Accused Instrumentality should be dismissed.

        Moxchange states in its Amended Complaint that the Court has personal jurisdiction over

 Proxim because Proxim has sold products in the State of Delaware. See D.I. 15 at ¶ 5. Moxchange


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 does not allege in its Amended Complaint that Proxim has infringed claim 1 of the Patent by selling

 the Accused Instrumentality. To the extent the Court determines that Moxchange’s jurisdictional

 statement constitutes a pleading or allegation that Proxim has infringed the ‘664 Patent based upon

 Proxim’s sales of the Accused Instrumentality, any such pleading or allegation requires dismissal

 under Rules 12(c) and 12(b)(6), given that this Court and the Federal Circuit have held in no

 uncertain terms that the mere sale of a product or device such as the Accused Instrumentality

 cannot, as a matter of law, constitute direct infringement of a patent’s method claims.

     2. Moxchange does not plead, attempt to plead, or allege that Proxim has directly infringed
        method claim 1 of the Patent by making, offering to sell, or importing the Accused
        Instrumentality.

           Moxchange did not plead or allege in its Amended Complaint that Proxim directly infringes

 method claim 1 of the Patent by making, offering to sell, or importing the Accused Instrumentality.

 Such pleadings or allegations are entirely absent from Moxchange’s Amended Complaint. 2 The

 Court should grant Proxim’s Rule 12(c) motion on this basis alone, insofar as the acts of making,

 offering to sell, or importing the Accused Instrumentality are concerned. Even if Moxchange had

 pleaded or alleged that Proxim directly infringed claim 1 of the Patent by making, offering to sell,

 or importing the Accused Instrumentality, such acts cannot as a matter of law constitute direct

 infringement of a patent’s method claims, and this Motion should be granted for this additional

 reason.

     3. Moxchange’s conclusory allegation and legal conclusion that Proxim has directly infringed
        method claim 1 of the ‘664 Patent by using the claimed invention should be dismissed
        under Rule 12(c) , Rule 12(b)(6), and the pleadings standards established by the Supreme
        Court.


 2
  As best Proxim can determine, the following terms, their derivatives, and related terms appear
 nowhere in Moxchange’s Amended Complaint (D.I. 15): manufacture, manufactured,
 manufacturing, made, make, making, offer(s), offering, offering to sell, marketing, import,
 imported, importing, or importation.



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        Moxchange alleges that Proxim “has been directly infringing claim 1 of the ‘664 Patent

 [by] performing actions comprising using or performing the claimed method” and/or “by using

 and/or testing” the Accused Instrumentality. See D.I. 15 at ¶ 20 (emphases added). This allegation

 is, at most, a mere label, bald assertion, or legal conclusion that does not suffice for purposes of

 Rules 12(c) and 12(b)(6). Further, Moxchange does not plead or allege in its Amended Complaint

 that Proxim, acting alone or in concert with another entity, performs or performed each step recited

 in claim 1 of the Patent, as is required to adequately plead direct infringement of a method claim.

 For these additional reasons, the Court should grant Proxim’s Rule 12(c) motion to dismiss due to

 Moxchange’s failure to adequately plead or allege infringing use by Proxim.


                                    STATEMENT OF FACTS

        Moxchange alleges in its Amended Complaint that Proxim directly infringes claim 1 of the

 ‘664 Patent. See D.I. 15 at ¶ 20. Claim 1 is an independent method claim, sometimes referred to

 as a “process” claim. See Ex. A (‘664 Patent) at col. 23, ll. 2-12 (reciting a “method of providing

 secure authentication…”). Claims 2 through 25 of the Patent are method claims that depend upon

 claim 1 and cannot be infringed unless claim 1 of the Patent is infringed. 3 Claim 26 of the ‘664

 Patent is a network claim. See Ex. A at col. 26, ll. 4-20 (reciting a “network for providing secure

 authentication…”).

        In its Amended Complaint, Moxchange identifies Proxim’s “ORiNOCO AP-9100R”

 product as the “Accused Instrumentality.” D.I. 15 at ¶ 20. Proxim sells and has sold the Accused

 Instrumentality in the United States. Moxchange alleges that Proxim has directly infringed

 independent method claim 1 of the ‘664 Patent.           See D.I. 15 at ¶ 20 (entitled “Direct


 3
  See, e.g., Minn. Mining & Mfg. Co. v. Chemque, Inc., 303 F.3d 1294, 1299 (Fed. Cir. 2002) (a
 patent’s dependent claims cannot be infringed unless the independent claim(s) from which they
 depend are infringed).


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 Infringement”) (emphasis in original). Moxchange alleges that the Accused Instrumentality

 practices the method and performs the steps recited in claim 1 of the Patent. See D.I. 15 at ¶¶ 21-

 26. 4

         Moxchange states in the “Jurisdiction and Venue” section of its Amended Complaint that

 Proxim has sold products and services in Delaware. See D.I. 15 at ¶ 5. In its Amended Complaint

 and infringement pleadings (Count I), Moxchange does not plead or allege that Proxim has

 infringed independent method claim 1 of the ‘664 Patent by making, selling, offering to sell, or

 importing the Accused Instrumentality. See, e.g., D.I. at ¶ 20. Moxchange does not plead or allege

 in its Amended Complaint that Proxim indirectly infringed or infringes any claim of the ‘664

 Patent by inducing infringement under 35 U.S.C. § 271(b) 5 or by contributing to infringement

 under 35 U.S.C. 271(c). 6

         Moxchange alleges in its Amended Complaint that Proxim “has been directly infringing

 claim 1 of the ‘664 patent” by “performing actions comprising using or performing the claimed

 method … by using and/or testing” the Accused Instrumentality. D.I. 15 at § 20 (emphases added).

 Moxchange also alleges in its Amended Complaint that it “has been damaged as a result of

 Defendant’s infringing conduct” and that Proxim is liable to Moxchange for damages in an amount




 4
   Consistent with its pleadings and allegations in its Amended Complaint, Moxchange recently
 served infringement disclosures and a claim chart under the Court’s requirements and scheduling
 order that purport to demonstrate “infringement by the accused instrumentality” of system claim 1
 of the ‘664 Patent.” (emphasis added).
 5
   “Whoever actively induces infringement of a patent shall be liable” as an indirect infringer. 35
 U.S.C. § 271(b) (emphasis added).
 6
   35 U.S.C. § 271(c) provides that an entity that sells, offers to sell, or imports a product or
 component that constitutes a material part of a patented machine is liable for indirect infringement
 as a contributory infringer.



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 not less than a reasonable royalty based upon Proxim’s “use of the patented technology.” See D.I.

 15 at ¶ 27 (emphasis added).


                                          ARGUMENT

        This case involves alleged direct infringement of the Patent’s method claim. The Federal

 Circuit has cautioned that a patent owner such as Moxchange must not attempt “to convert its

 method claims into apparatus claims.” Joy Techs., Inc. v. Flakt, Inc., 6 F.3d 770, 775-76 (Fed.

 Cir. 1993). That is precisely what Moxchange attempts to do in this case. The Court should reject

 Moxchange’s attempt, grant Proxim’s Rule 12(c) Motion, dismiss Moxchange’s Amended

 Complaint and Prayer for Relief with prejudice, and enter judgment of non-infringement in favor

 of Proxim.

     1. The pleading standards under Rule 12(c), Rule 12(b)(6), and the Supreme Court’s opinions
        in Iqbal and Twombly

        Rule 12(c) provides that “[a]fter the pleadings are closed—but early enough not to delay

 trial—a party may move for judgment on the pleadings.” 7 FED. R. CIV. P. 12(c). “A Rule 12(c)

 motion for judgment on the pleadings is reviewed under the same standard as a Rule 12(b)(6)

 motion to dismiss when the Rule 12(c) motion alleges that the plaintiff has failed to state a claim

 upon which relief can be granted.” 8 See, e.g., Two-Way Media Ltd. v. Comcast Cable Comms.,

 LLC, C.A. No. 14-1006-RGA, 2016 WL 4373698, at *1 (D. Del. Aug. 15, 2016) (granting

 defendant’s Rule 12(c) motion to dismiss on ground that the patent’s claims were invalid).




 7
   The deadline for motions to amend or supplement the pleadings has passed, see D.I. 21 at 2, and
 trial currently is scheduled for March 11, 2024. Id. at 17.
 8
   Proxim’s Fourth Affirmative Defense alleges that “Plaintiff’s Complaint and the allegations
 made therein fail to state a claim against Proxim for infringement of claim 1 of the ‘664 Patent
 upon which relief can be granted.” D.I. 24 at 6.


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          In ruling on a motion to dismiss under Rule 12(b)(6)—and therefore under Rule 12(c)—

  “the Court must accept all well-pleaded factual allegations in the complaint as true and view them

  in the light most favorable to the plaintiff.” DoDots Licensing Solutions LLC v. Lenovo Holding

  Co., Inc., C.A. No. 18-098-MN, 2018 WL 6629709, at *1 (D. Del. Dec. 19, 2018). Dismissal

  under Rules 12(c) and 12(b)(6) is proper only when the complaint fails to “contain sufficient

  factual matter, accepted as true, to state a claim to relief that is plausible on its face.” Ashcroft v.

  Iqbal, 556 U.S. 662, 678 (2009); see also Align Tech., Inc. v. 3Shape, 339.Supp.3d 435, 441 (D.

  Del. 2018) (“A plaintiff must plead facts sufficient to show that a claim has substantive

  plausibility.”); Lyda v. CBS Corp., 838 F.3d 1331, 1337 (Fed. Cir. 2016) (plaintiff’s complaint

  must allege sufficient facts, taken as true, to state a plausible claim for relief).

          The “plausibility” standard, however, requires a plaintiff to provide “more than labels and

  conclusions, and a formulaic recitation of the elements of a cause of action” does not suffice. Bell

  Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007); see also DoDots, 2018 WL 6629709, at *1.

  A court is not “required to accept as true bald assertions, unsupported conclusions or unwarranted

  inferences.” DoDots at *1 (quoting Iqbal at 678); see also Align Tech., 339 F.Supp.3d at 441 (“A

  well-pleaded complaint must contain more than mere labels and conclusions.”) (citing Iqbal, 556

  U.S. at 678). “Threadbare recitals of the elements of a cause of action, supported by merely

  conclusory statements” are inadequate for purposes of surviving a defendant’s motion to dismiss

  under Rules 12(c) and 12(b)(6). Lyda, 838 F.3d at 1337 (quoting Iqbal, 556 U.S. at 678).

      2. Pleading direct infringement of a patent’s method claims

          Moxchange’s sole infringement allegation and theory is that Proxim has directly infringed

  method claim 1 of the ‘664 Patent. See D.I. 15 at ¶ 20 (entitled “Direct Infringement”) (emphasis

  in original). There are five acts that can constitute direct infringement of claim 1 of the Patent: (1)




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  making the claimed invention; (2) selling the claimed invention; (3) offering to sell the claimed

  invention; (4) importing the claimed invention; and/or (5) using the claimed invention. See 35

  U.S.C. § 271(a).

          For purposes of this Motion, it is important and dispositive that allegedly-infringed claim

  1 of the ‘664 Patent is a method claim, not a product, apparatus, device, or system claim. Direct

  infringement of a patent’s method requires pleading and proof that “all steps of a claimed method

  are performed by or attributable to a single entity,” vs. a product or device. Akamai Techs., Inc. v.

  Limelight Networks, Inc., 797 F.3d 1020, 1022 (Fed. Cir. 2015) (emphases added); see also

  Ericsson v. D-Link Systems, Inc., 773 F.3d 1201, 1219 (Fed. Cir. 2014) (“A method claim is

  directly infringed when someone practices every step of the patented method.”) (emphases added);

  DoDots, 2018 WL 6629709, at *2 (“Where, as here, the asserted claims are method claims, it is

  well-established that direct infringement exists only where there is performance of every step of

  the claimed method.”); Lyda, “838 F.3d at 1338 (quoting Akamai, 797 F.3d at 1022).

          A defendant’s acts of “making, selling, offering to sell or importing the Accused Devices

  cannot—as a matter of law—constitute direct infringement of the [method] claims” of a patent

  “within the meaning of § 271(a).” See, e.g., DoDots, 2018 WL 6629709, at *2; see also Ericsson,

  773 F.3d at 1222 (no Federal Circuit decision has “found direct infringement of a method claim

  by sales of an end user product which performs the entire method...”) (emphasis added).

     I.      Moxchange’s pleading and allegation (if any) of direct infringement of method claim
             1 of the ‘664 Patent based upon Proxim’s sales of the Accused Instrumentality should
             be dismissed under Rule 12(c) because Proxim’s sales of the Accused Instrumentality
             cannot constitute direct infringement of a method claim as a matter of law.

          Moxchange states in its Amended Complaint that Proxim has sold products in the State of

  Delaware. See D.I. 15 at ¶ 5. Notably, Moxchange makes this single, unremarkable, and

  uncontested statement in the context of arguing that the Court has personal jurisdiction over



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  Proxim. Moxchange does not plead or allege in its sole infringement count that Proxim has

  infringed method claim 1 of the ‘664 Patent by virtue of selling the Accused Instrumentality or

  any other product. See D.I. 15 at p. 2 and ¶¶ 20-26 (Count I alleging direct infringement of method

  claim 1). Moxchange’s jurisdictional statement about Proxim’s sales of products in Delaware is

  insufficient and fails as a matter of law, even assuming that the statement constitutes a pleading or

  allegation of patent infringement (vs. a mere statement of fact related to personal jurisdiction).

  The Court should grant this Motion on this ground alone.

         In the event the Court determines that Moxchange’s statement about Proxim’s Delaware

  sales constitutes an actual infringement pleading or allegation—vs. a mere statement in support of

  personal jurisdiction—this Court has held in no uncertain terms that “making, selling, offering to

  sell or importing” an accused product or device “cannot—as a matter of law—constitute direct

  infringement” of a method claim, such as claim 1 of the ‘664 Patent. DoDots, 2018 WL 6629709,

  at *2 (D. Del. Dec. 19, 2018) (emphasis added) (dismissing plaintiff’s count of direct infringement

  of method claims based upon defendant’s sales). As a result, the Court in DoDots noted that when

  a complaint provides “no set of facts that could plausibly support a claim of direct infringement”

  of a method claim “based upon Defendant’s making, selling, offering to sell or importing” an

  accused product or device, “the Court will dismiss those claims.” Id. (emphases added).

         Consistent with the Court’s opinion and dismissal in DoDots, the U.S. Court of Appeals

  for the Federal Circuit has established that a patent’s method or “process” claims are only infringed

  when a defendant and/or another entity performs each step of the claimed method or process, not

  by the sale of a product that is capable of infringing use. See Ericsson, Inc. v. D-Link Systems,




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  Inc., 773 F.3d 1201, 1221-22 (Fed. Cir. 2014) 9 (“A method claim is directly infringed when

  someone practices every step of the patented method,” and no infringement liability exists

  “whenever an alleged infringer sells a product that is capable of executing the infringing method”)

  (emphases added); Adaptix, Inc. v. Apple, Inc., 78 F.Supp.3d 952, 956 (N.D. Cal. 2015) (citing

  Ericsson) (a defendant or other entity cannot directly infringe a claimed method without

  performing even one step of the method claim based on the sale of a device) (emphasis added);

  Ormco Corp. v. Align Tech., Inc., 463 F.3d 1299, 1311 (Fed. Cir. 2006) (emphasis added) (quoted

  by the Court in DoDots at *2); Joy Techs., 6 F.3d at 773-74 (Fed. Cir. 1993) (sales of equipment

  by the alleged infringer cannot constitute direct infringement of the patent’s method claims “within

  the meaning of 35 U.S.C. 271(a)).”

         Proxim’s mere sales of the Accused Instrumentality or any other product(s) cannot

  constitute infringement of method claim 1 of the ‘664 Patent as a matter of law. Therefore, even

  if a jury or the Court ultimately determined that Proxim had infringed claim 1 based upon Proxim’s

  sales of the Accused Instrumentality, any verdict or judgment of infringement based upon such

  sales would, as a matter of law, be insufficient to support Moxchange’s burden of proving direct

  infringement of independent method claim 1 of the Patent and would be inconsistent with the

  Federal Circuit’s case law. See, e.g., Align Tech., 339 F.Supp.3d at 441 (“At bottom, ‘the

  complaint must state enough facts that discovery will reveal evidence of each necessary element’



  9
    Coincidently, the patent claims at issue in Ericsson, as in this case, relate to products allegedly
  involved in “Wi-Fi” technology and patent claims directed to Section 802 of the Institute of
  Electrical and Electronics Engineers’ standards (the “IEEE Standards”). See, e.g., Ericsson, 773
  F.Supp.3d at 1208-09, 1211. Here, Moxchange’s ‘664 Patent and infringement allegations also
  relate and refer to Section 802 of the IEEE Standards. See, e.g., D.I. 15 at ¶ 21 (alleging that “a
  system using the Accused Instrumentality practices a method … using the IEEE 802.11i
  standard”). In Ericsson, the Federal Circuit recognized potential issues related to “standard
  essential patents” and “royalty stacking” resulting from allegations of infringement of numerous
  patent claims against numerous companies. Ericsson, 773 F.3d at 1209.


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  of a plaintiff’s claim.”) (quoting Wilkerson v. New Media Tech., 522 F.3d 315, 321 (3d Cir. 2008));

  see also Ericsson, 773 F.3d at 1222 (Fed. Cir. 2014) (“Because [the plaintiff] cannot point to any

  evidence in the record that [the defendant] performed the infringing steps, or that any of [the

  defendant’s] customer were under its direction or control, the jury did not have substantial

  evidence to find direct infringement” of the patent’s method claims.; Adaptix, F.Supp.3d at 956

  (citing Ericsson and answering in the negative that “[t]he fundamental question [of] whether one

  can directly infringe a claimed method without performing even one step of the method based on

  the sales of a device pre-programmed to perform one or more steps’ of a method claim”).

           Accordingly, under Rules 12(c) and 12(b)(6), the Court should dismiss Moxchange’s

  allegation, if any, of direct infringement of method claim 1 of the ‘664 Patent premised upon

  Proxim’s sales of the Accused Instrumentality or any other product, given that Moxchange did not

  plead any set of facts that could plausibly support a claim of direct infringement of method claim

  1 of the Patent based upon such alleged sales.

     II.      Moxchange failed or chose not to plead or allege infringement of method claim 1 of
              the Patent based upon Proxim’s manufacture, offers to sell, or importation of the
              Accused Instrumentality, and any pleading or allegation of direct infringement based
              upon such acts could not support a finding or judgment of direct infringement of that
              claim.

           Moxchange did not plead or allege in its Amended Complaint that Proxim has infringed,

  directly or otherwise, method claim 1 of the ‘664 Patent by making, offering to sell, or importing

  the Accused Instrumentality. Moxchange did not plead at all—much less adequately plead—that

  Proxim’s has infringed method claim 1 of the Patent as a result of such acts. As a result, those

  three allegedly-infringing acts of direct infringement—included among the five discrete acts listed

  under 35 U.S.C. § 271(a)—are off the table for purposes of this case.




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            Moxchange failed to include in its complaint sufficient factual assertions—or even labels,

  conclusion, or bald assertions—that, if accepted as true, state a claim to relief for infringement

  based on making, offering to sell, or importing that is plausible on its face. See, e.g., Twombly,

  550 U.S. at 555 (“Factual allegations must be enough to raise a right to relief above the speculative

  level.”); see also DoDots, 2008 WL 6629709, at *1; Lyda, 838 F.3d at 1337. Indeed, Moxchange’s

  Amended Complaint is utterly silent with respect to any manufacturing, offers to sell, or

  importation of the Accused Instrumentality by Proxim.

            Even if Moxchange had pleaded, alleged, or even suggested that Proxim had infringed

  method claim 1 of the Patent by making, offering to sell, or importing the Accused Instrumentality,

  and as noted above in the context of sales of a product, this Court and others have consistently

  held that making, offering to sell, or importing an accused product or device cannot constitute

  direct infringement of a patent’s method claim as a matter of law. See DoDots, 2018 WL 6629709,

  at *2 (D. Del. Dec. 19, 2018); Ormco, 463 F.3d at 1311 (Fed. Cir. 2006); Joy Techs., 6 F.3d at

  773-74 (Fed. Cir. 1993). The fact remains that the Moxchange’s Amended Complaint includes no

  pleading or allegation that Proxim infringed or infringes claim 1 of the ‘664 Patent by virtue of

  Proxim’s manufacture, offers to sell, or importation of the Accused Instrumentality. This fact

  further supports Proxim’s Motion for judgment on the pleadings under Rule 12(c).

            This leaves Moxchange with its infringement theory based upon Proxim’s allegedly-

  infringing use.

     III.      Moxchange’s allegation that Proxim has directly infringed method claim 1 of the Patent
               by using, testing, or performing the claimed method is a cursory label and legal
               conclusion that is insufficient for purposes of pleading infringement under Rule 12(c),
               Rule 12(b), and the Supreme Court’s opinions in Iqbal and Twombly.

            Moxchange’s infringement allegation and count (Count I) is premised solely upon

  Proxim’s own purported use, testing, and/or performance of the invention recited in claim 1 of the



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  ‘664 Patent.   See D.I. 15 at ¶20 (entitled “Direct Infringement”) (emphasis in original).

  Specifically, Moxchange’s single infringement allegation is this: “Upon information and belief,

  Defendant has been directly infringing claim 1 of the ‘664 patent in Delaware, and elsewhere in

  the United States, by performing actions comprising using or performing the claimed method …

  by using and/or testing” the Accused Instrumentality. Id. (emphases added). This pleading fails

  to pass muster under Rule 12(c), Rule 12(b)(6), and the opinions of this Court and the Supreme

  Court for at least two reasons.

         First, Moxchange’s lone statement that Proxim has infringed the Patent by using,

  performing, and/or testing the claimed method or the Accused Instrumentality constitutes nothing

  more than a label, conclusion, or bald assertion (which the Court is not obligated to accept or

  consider), and Moxchange’s “formulaic recitation of the elements of a cause of action will not do.”

  Bell Atlantic Corp. v. Twombly, 550 U.S. at 555 (2007). Indeed, Moxchange’s allegation about

  Proxim’s allegedly-infringing use is, at most, a partial, conclusory paraphrase of the federal Patent

  Act’s direct-infringement statute, 35 U.S.C. § 271(a), which lists the use of a claimed invention as

  one of the five acts that constitute direct infringement of a patent claim. 10 Moxchange’s partial

  paraphrase of a federal patent statute is inadequate in light of the Supreme Court holding that

  “[t]hreadbare recitals of the elements of a cause of action, supported by merely conclusory

  statements, do not suffice.” Iqbal, 556 U.S. at 678.

         As the Supreme Court has observed, a well-pleaded complaint “demands more than an

  unadorned, the-defendant-unlawfully-harmed-me accusation.”             Iqbal, 556 U.S. at 678.

  Moxchange’s sole infringement allegation included in its Amended Complaint, D.I. 15 at ¶ 20,




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    Providing in pertinent part that “whoever without authority makes, uses, offers to sell, or sells
  any patented invention ... infringes the patent.” See 35 U.S.C. § 271(a) (emphasis added).


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  constitutes exactly this type of unadorned accusation against Proxim. For this reason alone, the

  Court should grant Proxim’s Rule 12(c) Motion to the extent Moxchange’s infringement theory is

  based upon Proxim’s use, testing, or performance, if any, of method claim 1 of the Patent.

         Second, this Court’s and the Federal Circuit’s opinions support the proposition that

  defendant or entities can directly infringe a method claim, but products (or a defendant’s sales of

  products) cannot, even if the plaintiff alleges that a defendant’s product performs or is capable of

  performing each step of the claimed method. See, e.g., Ericsson, 773 F.3d at 1221-22 (Fed. Cir.

  2014) (holding that there can be no direct-infringement liability “whenever an alleged infringer

  sells a product that is capable of executing the infringing method,” and adding that “none of our

  decision have found direct infringement of a method claim by sales of an end user product which

  performs the entire method…”) (emphases added). Moxchange does not plead or allege that

  Proxim, either alone or working in concert with another entity, performs each step (or any step)

  recited in method claim 1 of the ‘664 Patent. See D.I. 15 at ¶¶ 21-26.

         The universe of purported factual statements ostensibly supporting Moxchange’s single

  infringement count (Count I) are recited in Paragraphs 21-26 of its Amended Complaint. See D.I.

  15 at ¶¶ 21-26. In those Paragraphs, Moxchange alleges that the Accused Instrumentality—not

  Proxim and/or another entity—performs each step of method claim 1 of the ‘664 Patent. See D.I.

  15 at ¶¶ 21-26. This is dispositive for purposes of this Motion because the case law is clear that a

  defendant, working alone or in concert with another entity, can directly infringe a patent’s method

  claims only if and when the defendant and/or the other entity (vs. a product or device) performs

  each step recited in the claims. See, e.g., Ericsson, 773 F.3d at 1219 (“A method claim is directly

  infringed when someone practices every step of the patented method.”) (emphases added); see also

  Akamai, 797 F.3d at 1022 (“Direct infringement under 271(a) occurs where all steps of a claimed




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  method are performed by or attributable to a single entity.”) (emphasis added); Joy Techs., 6 F.3d

  at 773-74 (“To be a direct infringer of the method claims, defendant must be found to have used

  the attachments in question in the manner prescribed in the method claims.”) (quoting Dennison

  Mg. Co. v. Ben Clements & Sons, Inc., 467 F.Supp. 391, 427 (S.D.N.Y. 1979)) (emphasis added);

  see also LoganTree LP v. Omron Healthcare, Inc., C.A. 18-1617-MN, 2019 WL 4538730, at *4

  (D. Del. Sept. 19, 2019) (granting defendant’s Rule 12 motion because “an allegation that [the

  defendant], itself, has performed all claimed steps is absent from the Complaint”); Align Tech.,

  Inc. v. 3Shape, 339 F.Supp.3d 435, 446-47 (D. Del. Sept. 7, 2018) (“In order to be liable for direct

  infringement of a method claim, the alleged infringer” must perform each step of the method,

  either personally or through another acting under its control) (emphasis added); DoDots, 2018 WL

  6629709, at *2 (“[I]t is well-established that direct infringement exists only where there is

  performance of every step of the claimed method.”); Lyda v. CBS Corp., 838 F.3d 1331, 1338-39

  (Fed. Cir. 2016).

         In LoganTree v. Omron, for example, the Court granted the defendant’s Rule 12 motion to

  dismiss the plaintiff’s infringement allegations because the plaintiff “failed to plausibly plead

  claims for either direct infringement or indirect infringement” and did not allege that “the

  defendant has performed every claimed step” of the method claims at issue. LoganTree, 2018 WL

  4538730, at *4 (D. Del. Sept. 19, 2019). In Align Tech., this Court denied the defendant’s Rule

  12 motion to dismiss the plaintiff’s allegations that the defendant had directly infringed the patent’s

  method claims. 339 F.Supp.3d at 446-47. In doing so, the Align Court reiterated that “[i]n order

  to be liable for direct infringement of a method claim, the alleged infringer” must perform each

  step recited in the claim, “either personally or through another acting under his direction or

  control.” Id. at 447. In contrast to Moxchange’s pleadings at issue in this case, the Align Court




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  noted that the plaintiff had, in fact, alleged and pleaded in its complaint that “both of the

  Defendants did everything” (i.e., performed each step of the method claims) and therefore denied

  the defendant’s Rule 12 motion. Id. (emphasis added).

         Moxchange’s allegation that a product—the Accused Instrumentality—performs the steps

  of method claim 1 of the ‘664 Patent has been rejected as insufficient as a matter of law to state a

  claim of direct patent infringement upon which relief can be granted under Rules 12(c) and

  12(b)(6) or this Court’s and the Federal Circuit’s case law. Here, like the plaintiff in LoganTree

  and in contrast to the plaintiff in Align Tech., Moxchange did not plead or allege in its Amended

  Complaint that Proxim and/or others “did everything” by performing each step of method claim

  1. See D.I. 15 at ¶¶ 21-26. As a result, Moxchange’s allegations of direct infringement of method

  claim 1 of the Patent should be dismissed with prejudice, to the extent those allegations are based

  upon Proxim’s alleged use, testing, or performance of claim 1 of the Patent. 11

         The pleadings in this case are more in line with the Court’s opinion in DoDots v. Lenovo,

  in which the Court dismissed the plaintiff’s infringement allegations premised on manufacturing,

  sales, offers to sell, or importation of various products, see supra, but concluded that the plaintiff

  had adequately alleged direct infringement in its amended complaint based solely upon

  “Defendants’ use of the Accused Devices.” DoDots, 2018 WL 6629709, at *2-3 (emphasis added).




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     To the extent Moxchange sought to plead “joint” direct infringement of claim 1 (i.e., the
  performance of every claimed step by Proxim and a Proxim customer, product user, or other
  entity), Moxchange failed. The Federal Circuit has held that a claim of joint direct infringement
  “requires pleading facts sufficient to allow a reasonable inference that all steps of the claimed
  method are performed and either (1) one party exercises the requisite ‘direction or control’ over
  the others’ performance or (2) every step is attributable to the controlling party.” Lyda v. CBS
  Corp., 838 F.3d 1331, 1339 (Fed. Cir. 2016) (citing Akamai, 797 F.3d at 1022). Nowhere in
  Moxchange’s Amended Complaint does Moxchange mention or identify any entity other than
  defendant Proxim, much less allege that Proxim exercises or has exercised “direction or control”
  over another entity.


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  In DoDots, the Court noted that the plaintiff’s infringement allegations “regarding ‘use’ within the

  meaning of § 271(a)” were “a different matter” than infringement allegations based upon sales and

  other acts, and observed that the plaintiff’s amended complaint included allegations that the use of

  accused devices, in conjunction with various applications, stated a plausible claim under Rule

  12(b)(6). Id. at *3. Notably, as addressed supra, the DoDots Court did not determine that the

  defendant’s manufacture, sales, offers to sell, or importation of its products constituted direct

  infringement of the patent’s method claims. See DoDots, 2018 WL 6629709, at *2. To the

  contrary, the Court concluded only that the plaintiff “adequately alleges direct infringement of [the

  patent] based on Defendants’ use of the Accused Devices.” Id. (emphasis added).

         Consistent with its sole infringement count based upon Proxim’s alleged use (see D.I. 15

  at ¶ 20), Moxchange seeks damages resulting from Proxim’s alleged “infringing conduct” and in

  an amount not less than “a reasonable royalty for [Proxim’s] use of the patented technology.” D.I.

  15 at ¶ 27 (emphasis added). Therefore, to the extent the Court determines that Moxchange has

  adequately pleaded in its Amended Complaint direct infringement of method claim 1 of the Patent

  resulting from Proxim’s alleged acts of using, testing, or performing the method recited in claim

  1, Proxim respectfully suggests that the Court should limit this case, discovery, trial, and

  Moxchange’s infringement allegations, infringement theory, damages theory and model, and

  damages award, if any, to those related to and measured by such acts, consistent with Moxchange’s

  sole infringement count and its own damages request.

         The Court should reject Moxchange’s clear but improper attempt to “convert its method

  claims into apparatus claims,” Joy Techs. 6 F.3d at 775-76, and grant this Rule 12(c) Motion to

  Dismiss Moxchange’s Amended Complaint and infringement allegations on the pleadings.




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                            CONCLUSION AND RELIEF SOUGHT

     Proxim respectfully requests the following relief:

     (1) The Court’s Rule 12(c) dismissal with prejudice of Moxchange’s Amended Complaint

        (D.I. 15) and Moxchange’s single count (Count I) of direct infringement of claim 1 of the

        ‘664 Patent (see D.I. 15 at ¶ 20);

     (2) The Court’s order and judgment that Moxchange has not sufficiently pleaded under Rule

        12(c) that Proxim infringes or has infringed method claim 1 of the ‘664 Patent by selling,

        offering to sell, making, or importing the Accused Instrumentality or any other product;

     (3) The Court’s order and judgment that Moxchange has not sufficiently pleaded under Rule

        12(c) that Proxim infringes or has infringed method claim 1 of the Patent by using, testing,

        or performing the method recited in claim 1 of the Patent;

     (4) The Court’s order and judgment that, to the extent Moxchange has sufficiently pleaded

        direct infringement of independent method claim 1 of the ‘664 Patent by virtue of Proxim’s

        own alleged use, testing, or performance of the method recited in claim 1, this case,

        discovery, trial, and Moxchange’s patent-infringement theory, patent allegations, damages

        model, damages theory, monetary demand, and monetary award (if any) be limited to and

        based solely upon such use, testing, or performance by Proxim and not upon Proxim’s

        manufacture, sales, offers to sell, or importation of the Accused Instrumentality, consistent

        with Moxchange’s own infringement allegation and damages request (See D.I. 15 at ¶¶ 20,

        27); and

     (5) The Court’s denial of any request or motion by Moxchange for leave to further amend its

        Complaint against Proxim, given: (1) that the deadline for motions to amend the pleadings

        has passed, pursuant to the Court’s Scheduling Order (see D.I. 21 at 2); (2) the numerous

        opportunities for Moxchange to investigate Proxim’s allegedly-infringing acts and to


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        revisit, supplement, or amend its complaint(s) to attempt to allege indirect, induced,

        contributory, or joint infringement; and (3) the fact that this case and Moxchange’s

        infringement investigation and theories have been or should have been ongoing, focused,

        and refined during the 15 months since Moxchange initiated this action against Proxim.

  Dated: December 21, 2021                    Respectfully submitted,

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                               Exhibit A
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